     Case 1:23-cv-08292-SHS-OTW              Document 274                Filed 11/21/24   Page 1 of 4



                           Susman Godfrey l.l.p.
                                  a registered limited liability part nership




                                         November 21, 2024
VIA ECF
Hon. Ona T. Wang
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007
       RE:     Authors Guild v. OpenAI Inc., 23-cv-8292 (S.D.N.Y.) and Alter v. OpenAI Inc.,
               23-cv-10211 (S.D.N.Y.): Microsoft’s Motion for ChatGPT, Assistant, Loan-Out
               Company, Agent, and Publisher Discovery
Dear Magistrate Judge Wang:

        Plaintiffs respond to Microsoft’s letter-motion, dated November 18, 2024 (Dkt. 263)
(“Letter”), seeking to compel discovery in response to one request regarding Plaintiffs’ use of
ChatGPT and three requests regarding market-related discovery from Plaintiffs’ agents and
publishers. Aside from its failure to exhaust the meet and confer process, Microsoft’s Letter should
be denied for three reasons: (A) Plaintiffs have already agreed to produce documents related to
ChatGPT; (B) Microsoft’s requested relief from the Authors Guild is inconsistent with its own
document requests; and (C) the individual plaintiffs are willing to request certain documents from
their agents and publishers.

A.     Plaintiffs Already Agreed to Produce Documents Related to ChatGPT and the
       Additional Relief Sought Is Not Proportional To The Needs Of The Case.

        Microsoft contends that Plaintiffs “have refused to provide documents responsive to
Microsoft’s request” for all “Documents regarding Your use of ChatGPT, for any purpose.” Dkt.
263 at 2; Dkt. 263-1 at 22-23. This is false. Pursuant to the parties’ search term negotiations,
Plaintiffs have produced and will continue to produce all non-privileged documents in our client’s
emails that contain the term OpenAI or ChatGPT. Plaintiffs have also produced all ChatGPT
outputs cited in the Complaint. Microsoft offers no explanation as to why this production is
insufficient.

         Compelling Plaintiffs to produce records of using ChatGPT in ways entirely unrelated to
this litigation or the works-in-suit (e.g., asking ChatGPT about the weather) would not be
proportional to the needs of the case. For starters, ChatGPT outputs unrelated to the works at issue
are not relevant, or at best marginally relevant. Microsoft offers two reasons for why these
documents are relevant. First, Microsoft says that any non-infringing use of ChatGPT is relevant
to Plaintiffs’ claims for contributory infringement, citing Sony Corp. of Am. v. Universal City
Studios, Inc., 464 U.S. 417, 417 (1984). This is wrong. Plaintiffs allege that Microsoft enabled
OpenAI’s largescale copyright infringement in training its large language models, not that end
     Case 1:23-cv-08292-SHS-OTW             Document 274        Filed 11/21/24      Page 2 of 4

November 19, 2024
Page 2
users of ChatGPT are generating infringing outputs. End users infringing or non-infringing use of
ChatGPT is not at issue in this case. Second, Microsoft claims that Plaintiffs’ use of ChatGPT to,
for example, check the weather is relevant to what is apparently a free-ranging inquiry into the
public benefits or risks from ChatGPT under a fair use analysis. Microsoft has the legal standard
for fair use wrong, see Google LLC v. Oracle Am., Inc., 593 U.S. 1, 35 (2021), but in any event
there are far better sources for assessing the general public’s potential applications of ChatGPT
and other LLMs than invading all Plaintiffs’ uses of these tools.

       Microsoft’s sole authority on this issue, Viacom Int’l Inc. v. Youtube Inc., 253 F.R.D. 256,
261-62 (S.D.N.Y. 2008), does not support its argument. In that case, the court granted plaintiff’s
motion to compel the defendant YouTube to produce “all data from the Logging database
concerning each time a YouTube video has been viewed on the YouTube website or through
embedding on a third-party website.” See id. The Court did not consider whether the plaintiff’s
own YouTube history was relevant to the case, much less whether it was relevant and proportional
discovery on defendants’ fair use and substantial non-infringing use defenses as Microsoft
contends here.

        Moreover, in an effort to resolve the matter, Plaintiffs have offered to identify each
individual plaintiffs’ ChatGPT username to OpenAI. Plaintiffs made this specific proposal after
OpenAI expressly stated that doing so would resolve their nearly identical request for Plaintiffs’
ChatGPT outputs. Ex. 1 at 3-4. To the extent Microsoft seeks discovery of relevant ChatGPT
outputs, it should join Plaintiffs’ outstanding requests to OpenAI for output records related to the
asserted works. Microsoft ignored this proposal in its Letter and has yet to offer any specific
explanation as to why it would be insufficient. To the extent the Court orders any relief on this
issue, the relief should be limited to Plaintiffs’ identification of the usernames for each individual
plaintiff.

B.     Plaintiffs Are Entitled To Thirty Days To Respond To Microsoft’s New Request
       Pursuant to FRCP 30.

        In its Letter, Microsoft asks the Court to order the Authors Guild to “produce all fourth
factor evidence in its possession without regard to the works of Mignon Eberhart.” Dkt. 263 at 3.
However, before filing this Letter, Microsoft had never served a request for these documents. The
only document requests Microsoft cited to in its Letter in support of this issue are expressly limited
to “Your Copyrighted Works,” that is, the Copyrighted Works owed by the Authors Guild. Dkt
No. 263-1 at 12-13. Accordingly, consistent with Microsoft’s own requests, the Authors Guild
appropriately limited their response to the copyrighted works it actually owns and is asserting in
this lawsuit—the copyrighted works of Mignon Eberhart.

        When Plaintiffs pointed out this apparent oversight to Microsoft on November 20,
Microsoft served a new set of document requests after this motion was filed on November 20 at
10:05 pm Eastern time. Under FRCP 30, Plaintiffs responses are not due until December 20. As
of this writing, Plaintiffs have had fewer than 24 hours to review the newly-served requests and
respectfully request that Microsoft’s motion be denied on this basis.
     Case 1:23-cv-08292-SHS-OTW                  Document 274           Filed 11/21/24        Page 3 of 4

November 19, 2024
Page 3
C.       Plaintiffs Are Already Seeking Certain Documents from Agents and Publishers.

        As Microsoft acknowledges in its Letter, Plaintiffs have never refused to request certain
documents from their agents and publishers in response to the three market-related requests at
issue in this Letter. Rather, because Microsoft first made the request on a meet and confer hours
before Microsoft filed this Motion, Plaintiffs’ counsel had not yet had a chance to discuss
Microsoft’s request with the individual plaintiffs and provide a response. Since receiving
Microsoft’s request and OpenAI’s related letter-motion on the issue, Plaintiffs’ counsel promptly
followed up with the individual plaintiffs and confirmed that, in an effort to compromise, Plaintiffs
are willing to make a request to their agents and publishers for a clearly defined list of documents
that Plaintiffs’ counsel could negotiate with Microsoft’s counsel.
        To the extent Microsoft is seeking anything more, such as a complete ESI collection from
each agent and publisher to collect every potentially responsive email communication, there is no
legal or factual basis to do so.
        First, Microsoft has cited to no authority that suggests, much less states, that an author has
possession, custody, or control over their agent or publisher’s emails or other ESI communications.
In Bank of New York v. Meridien BIAO Bank Tanzania Ltd., 171 F.R.D. 135, 147 (S.D.N.Y., 1997),
the court considered whether an “assignee of a claim” had possession of the assignor’s documents.
Here, there is no suggestion that any of the claims at issue have been assigned from the agents or
publishers to the individual plaintiffs. Similarly, in Mirlis v. Greer, 80 F.4th 377, 382 (2d Cir.
2023), the court held that a defendant was required to collect “certain bank records,” not “all
documents and communications” related to said records like the request at issue here would
require.
        Second, there is nothing in the factual record to suggest Plaintiffs have sufficient custody,
control, or possession to demand an ESI collection from their agents or publishers. Indeed,
Plaintiffs subpoenas to their publishers for documents related to their own works demonstrates the
opposite. For example, among other requests, Plaintiffs’ publisher subpoenas requested: “Text-
searchable copies of the final, as-published version” of the plaintiffs’ own work being asserted in
this case. See, e g., Ex. 2 at 7. Similarly, Plaintiffs requested, “Documents sufficient to demonstrate
the BISAC code for each work detailed in Exhibit 1.” Id. Plaintiffs made these requests to expedite
the production of relevant documents in the case, and to date have obtained—and produced to the
Defendants—over 800 documents from publishers.
        Finally, Finally, Microsoft’s letter-motion should be denied because it is largely moot. As
discussed above, based on Plaintiffs’ counsel preliminary conversation with the individual
plaintiffs, Plaintiffs are not aware of substantive documents and communications responsive to
these requests that are not already in the individual plaintiffs’ possession. Any potential concern
about Plaintiffs’ production should only be addressed once Microsoft has received the forthcoming
production. Moreover, contrary to Defendants contention that this case focuses on whether any
and all ChatGPT outputs are transformative of the Plaintiffs work, Plaintiffs have repeatedly made
clear that this case focuses on OpenAI’s alleged unlawful downloading and reproduction of
Plaintiffs’ books. See Dkt. 69, at ⁋⁋ 96 et seq., ⁋415.1


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 Nov. 29, 2023 Hr’g Tr. at 11:24-12:1 (Dkt. 44) (“We’re focusing on the mass copying of protective works for
purposes of ‘training’ the large language model.”).
   Case 1:23-cv-08292-SHS-OTW   Document 274    Filed 11/21/24     Page 4 of 4

November 19, 2024
Page 4


                                   Sincerely,

LIEFF CABRASER HEIMANN    SUSMAN GODFREY LLP        COWAN, DEBAETS,
& BERNSTEINS LLP                                    ABRAHAMS & SHEPPARD
                                                    LLP

/s/ Rachel Geman          /s/ Rohit Nath            /s/ Scott J. Sholder
Rachel Geman              Rohit Nath                Scott J. Sholder
